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Attorneys for Plaintiff Xat.com Limited


                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION

                                              XAT.COM LIMITED’S MOTION
 XAT.COM LIMITED,                             FOR LEAVE TO FILE FIRST
                                              AMENDED COMPLAINT
           Plaintiff,
                                              Case No. 1:16-cv-00092
 v.

 HOSTING SERVICES, INC. A/K/A                 Chief Magistrate Judge Paul M.
 100TB.COM,                                   Warner

           Defendant.                         Mediator: Magistrate Judge Dustin B.
                                              Pead




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         Pursuant to Federal Rule of Civil Procedure 15(a)(2), plaintiff Xat.com

Limited (“Xat”) hereby moves the Court for leave to file its First Amended

Complaint in the form attached as Exhibit A.

                                  INTRODUCTION

         This case is about defendant Hosting Services, Inc. a/k/a 100TB (“100TB”)

(a company whose job is to securely host its customers’ servers) repeatedly giving

unauthorized individuals access Xat’s servers, allowing those individuals to obtain

Xat’s customers’ information; delete data, databases, and source code; and access

and erase system log files.

         In 2008, Xat—a social-media company located in the United Kingdom—

retained 100TB to host its servers. In 2015, unauthorized individuals began

attempting to access Xat’s servers by using 100TB’s online chat support system to

obtain the passwords to Xat’s account. Despite being aware of these attempts, in

February 2015, 100TB employees disclosed Xat’s password and account

information to an unauthorized individual, in contravention of 100TB’s policies.

Xat subsequently requested that 100TB implement additional security measures

such as two-factor authentication and an email-validation system. After these

measures were implemented, individuals continued trying to access Xat’s account

and servers through 100TB’s chat system. Notwithstanding the additional security

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measures implemented by 100TB, on November 4, 2015, 100TB employees

improperly disclosed Xat’s information to unauthorized individuals, allowing those

individuals to disable the security measures and access Xat’s account and servers.

Xat immediately notified 100TB of the unauthorized access and requested that

100TB shut down and back up the servers until it could be verified that the servers

were secure. 100TB failed to follow Xat’s instructions and only three days later,

on November 7, allowed unauthorized individuals to again access Xat’s account

and servers. These unauthorized individuals accessed Xat’s proprietary log files,

databases and source code, and erased system log files, causing significant harm to

Xat.

         Xat brought suit against 100TB in June 2016 as a result of these

cyberattacks. 100TB subsequently moved to dismiss the suit, which was granted

in part and denied in part. Shortly after the Court’s ruling on the motion to

dismiss, 100TB moved for summary judgment, which if granted would have

disposed of the case. As a result, the parties elected to conduct only limited written

discovery while the motion for summary judgment was pending. The Court issued

its ruling denying the motion in March 2018. At the time of the Court’s ruling, the

fact-discovery and expert-discovery deadlines had expired. Accordingly, the




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parties recently moved the Court to extend the discovery deadlines. 1 See Dkt. Nos.

77 and 78.

         Xat now seeks to amend its Complaint to conform to the evidence in the

case. Xat obtained new counsel on July 23, 2018. See Dkt. No. 66. In reviewing

the evidence in the case, Xat’s new counsel has determined that Xat’s Complaint

should be amended to add a cause of action for breach of the duty of good faith and

fair dealing and to conform to the evidence in the case.

                     RELIEF SOUGHT AND GROUNDS THEREFOR

         Xat seeks to amend its Complaint to add a cause of action for breach of the

implied covenant of good faith and fair dealing, to remove the causes of action that

the Court previously dismissed, and to amend miscellaneous allegations to

conform to the evidence in this case.

         There is good cause for granting Xat’s motion. First, discovery is in the

early stages. The parties have propounded limited written discovery and have not

yet taken depositions, and the parties have moved to amend the scheduling order to

allow for additional time to complete fact discovery. See Dkt. Nos. 77 and 78.
         1
         Although the parties agree that the fact-discovery and expert-discovery deadlines should
be extended, the parties disagree about when those deadlines should be. See Dkt. Nos. 77 and
78. The parties have, therefore, submitted competing scheduling orders. See id. Pursuant to
Xat’s proposed amended scheduling order, the deadline to amend the parties’ pleadings is
October 5, 2018. See id.



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And the deadline for moving to amend the pleadings set forth in Xat’s proposed

schedule has not yet expired. See Dkt. No. 78. Second, Xat brings this motion in

good faith, soon after its new counsel discovered the Complaint should be

amended to conform to the evidence in the case. Third, 100TB will not be

prejudiced by Xat’s amendment because the parties’ proposed case schedules

provide ample time for 100TB to prepare defenses to Xat’s new claim and

allegations, and Xat’s new claim for breach of the covenant of good faith and fair

dealing relies on many of the same facts as its breach of contract claim. Further,

Xat’s amended fact allegations originate from the facts contained in its current

Complaint. A redline version showing the proposed amendments to Xat’s

Complaint is attached as Exhibit B. Third, Xat’s claim is not futile as Xat has pled

the elements of the new claim with factual allegations establishing those elements.

Xat’s motion should be granted.




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                                      ARGUMENT

I.       XAT SHOULD BE GRANTED LEAVE TO FILE AN AMENDED
         COMPLAINT.

         A.        Standard for Leave to Amend under Federal Rule of Civil
                   Procedure 15(a)(2).
         Rule 15(a)(2) of the Federal Rules of Civil Procedure provides that courts

“should freely give leave [to amend] when justice so requires.” Fed. R. Civ. P.

15(a)(2). The United States Supreme Court and the Tenth Circuit Court of

Appeals have stated that the mandate of Rule 15(a) “is to be heeded,” and that

leave to amend should be denied only if the Court finds evidence of “undue delay,

bad faith or dilatory motive on the part of the movant, repeated failure to cure

deficiencies by amendments previously allowed, undue prejudice to the opposing

party by virtue of allowance of the amendment, [or] futility of the amendment.”

Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 230 (1962); Minter v. Prime

Equip. Co., 451 F.3d 1196, 1204 (10th Cir. 2006) (quoting Foman, 371 U.S. at

182). As noted by the Tenth Circuit, the “purpose of the Rule is to provide

litigants ‘the maximum opportunity for each claim to be decided on its merits

rather than on procedural niceties.’” Minter, 451 F.3d at 1204 (quoting Hardin v.

Manitowoc-Forsythe Corp., 691 F.2d 449, 456 (10th Cir. 1982)).




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         None of the factors enumerated by the United States Supreme Court and

Tenth Circuit would warrant denial of Xat’s proposed amendment.

         B.        Xat’s Motion is Timely.
         Xat’s motion for leave to amend is timely. Discovery is in the early stages.

The parties have not yet taken depositions and have propounded limited written

discovery, and the parties have moved to amend the existing scheduling order to

extend the fact-discovery cutoff. Moreover, Xat filed its amendment prior to the

deadline for moving to amend the pleadings set forth in Xat’s proposed schedule.2

See Dkt. No. 78. 100TB will have more than adequate opportunity to address

Xat’s additional claim and fact allegations through discovery.

         C.        Xat’s Motion is Brought in Good Faith.
         Xat seeks this amendment in good faith and without dilatory motive. In the

Tenth Circuit, delay in amending a complaint is not “undue” unless there is no

reasonable explanation. See Minter v. Prime Equip. Co., 451 F.3d 1196, 1206-07

(10th Cir. 2006). Here, Xat moved to amend shortly after its new counsel

discovered the allegations in the Complaint were inconsistent with evidence in the

case.

         2
         100TB has proposed a significantly compressed amended scheduling order. See Dkt.
No. 77 at Exhibit A. The deadline for amending pleadings in 100TB’s proposed amended
schedule was September 17, 2018. See id.



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         D.        100TB Will Not Suffer Undue Prejudice as a Result of the
                   Amendment.
         100TB cannot claim prejudice—much less undue prejudice—if Xat is

granted leave to file its amended complaint. Generally, an amendment is

prejudicial only when the amendment unfairly affects parties “in terms of

preparing a defense to the amendment.” See Minter, 451 F.3d at 1208; see also

U.S. v. Badger, No. 2:10cv935, 2013 WL 1309165, at *2 (D. Utah Mar. 31, 2013)

(unpublished).

         Here, 100TB cannot claim that the amendment will unfairly affect its

defense. The cause of action for breach of the implied covenant of good faith and

fair dealing Xat seeks to add is closely related to Xat’s claim for breach of contract

and relies upon many of the same facts. The amended fact allegations simply

conform to the evidence in the case. Xat’s primary changes to its allegations are to

clarify that Xat never “executed” the 2014 master services agreement referenced in

the Complaint, and that the terms of the master services agreement were not

negotiated but were instead unilaterally drafted by 100TB. Thus, allowing Xat to

amend its Complaint to conform to the evidence will not prejudice 100TB. See

Yudin v. University of Utah, No. 2:13-CV-01063, 2014 WL 2615842, at *2 (D.

Utah June 12, 2014) (unpublished) (concluding that an amendment was not

unfairly prejudicial where it stemmed “from the same facts” and where, even if it

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contained “more detail, such detail serves to properly frame and clarify the relevant

legal issues”); Green Constr. Co. v. Black & Veach Eng’rs & Architects, No. 89-

2291-0, 1990 WL 58780, at *2 (D. Kan. Apr. 19, 1990) (unpublished) (granting the

plaintiffs’ motion to amend where the “plaintiff’s proposed amendments are

designed simply to clarify the factual bases for the various claims”).

         E.        Xat’s Proposed Amendment is Not Futile.
         Xat’s proposed amendment is not futile. As set forth in its First Amended

Complaint, Xat has pled the required elements for breach of the implied covenant

of good faith and fair dealing and has included factual allegations establishing

those elements. See First Amend. Compl., Ex. A.

         To plead a claim for breach of the implied covenant of good faith and fair

dealing, Xat must allege facts sufficient to demonstrate the existence of an implied

promise arising under, but separate from, the express terms of the contract; that

100TB has breached that implied promise by acting in a manner sufficiently

inconsistent with the implied promise and Xat’s justified expectations under it; and

that 100TB’s failure to do so has injured Xat’s right to receive the fruits of the

contract. See A.I. Transp., Div. of Ins. Co. of State of Pa. v. Imperial Premimum

Fin., Inc., 862 F. Supp. 345, 348 (D. Utah 1994). Xat has done so. Xat has alleged

facts that 100TB generally represented that security and safeguarding its clients’


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content was an important feature of their service, and that an implied promise to

safeguard Xat’s content and servers was a common purpose undergirding the

parties’ relationship as well as the MSA; that 100TB breached the implied promise

to safeguard Xat’s content and servers when it facilitated the improper access of

Xat’s content and servers by unauthorized parties; and that Xat has suffered injury

thereby. See First Amend. Compl. ¶¶ 65–72, Ex. A.

                                    CONCLUSION

         For the foregoing reasons, Xat respectfully requests that the Court grant its

motion for leave to file its First Amended Complaint.

DATED: October 5, 2018

                                              STOEL RIVES LLP


                                              /s/ Jordan C. Bledsoe
                                              David L. Mortensen
                                              Jordan C. Bledsoe

                                              Attorneys for Plaintiff Xat.com Limited




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                            CERTIFICATE OF SERVICE

         I hereby certify that on October 5, 2018, I caused a true and correct copy of

the foregoing to be served by CM/ECF and electronic mail to:

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                                                /s/ Robin Noss




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